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 6 Attorneys for Plaintiff and
     Proposed Class Counsel
 7
 8                                    UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10 MARION WILLIAMS, on behalf of himself and Case No. 3:21-cv-06489-EMC
     all others similarly situated,
11                                                     STIPULATION AND [PROPOSED] ORDER
                     Plaintiff,                        TO CONTINUE CASE MANAGEMENT
12                                                     CONFERENCE
             vs.
13
   UDEMY, INC., a Delaware Limited Liability
14 Company, and DOES 1- 50, inclusive,
15                   Defendants.

16
17           Pursuant to Civil L.R. 16-2(e) and 7-12, Plaintiff Marion Williams (“Plaintiff” and Defendant

18 Udemy Inc. (“Defendant” and, collectively, the “Parties”), by and through their undersigned counsel,
19 hereby request that the Court enter an Order granting the following stipulation continuing the Case
20 Management Conference set for December 7, 2021, at 1:30 p.m. (ECF No. 10):
21           WHEREAS, Plaintiff filed a putative class action Complaint against Defendant on August 23,

22 2021 (ECF No. 1);
23           WHEREAS, on September 20, 2021, the Court entered the Case Management Conference Order

24 in Reassigned Case, setting the Case Management Conference for December 7, 2021, at 1:30 p.m. and
25 the November 30, 2021 deadline for a joint case management conference statement (ECF No. 10);
26           WHEREAS, the Parties are exploring resolution and therefore agree, in the interest of

27 conserving the resources of the Parties and the Court, to a continuance of the Case Management
28 Conference by sixty (60) days;

                                                      1
                        STIPULATION AND [PROPOSED] ORDER TO CONTINUE CMC
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 1         WHEREAS, this continuation would not affect the case schedule, as none has been entered.

 2         NOW, THEREFORE, the Parties hereby stipulate and agree that:

 3         1.     the Case Management Conference set for December 7, 2021, at 1:30 p.m. be continued

 4 by sixty (60) days; and
 5         2.     the joint case management conference statement deadline be continued to one week

 6 before the new Case Management Conference date.
 7         IT IS SO STIPULATED.

 8 Dated: November 24, 2021                      LYNCH CARPENTER, LLP

 9                                          By: /s/ Todd D. Carpenter
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14                                               Attorneys for Plaintiff
                                                 and Proposed Class Counsel
15
16 Dated: November 24, 2021                      BRANN & ISAACSON

17                                          By: /s/ David Swetnam-Burland
                                                David Swetnam-Burland (CA 226216)
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25
                                                 Attorneys for Defendant
26                                               Udemy, Inc.
27
28

                                                    2
                     STIPULATION AND [PROPOSED] ORDER TO CONTINUE CMC
           Case 3:21-cv-06489-EMC Document 29 Filed 11/24/21 Page 3 of 3




 1                                        FILER’S ATTESTATION

 2          Pursuant to Local Rule 5-1(h)(3), I hereby attest that the other signatory listed, on whose behalf

 3 the filing is submitted, concurs in the filing’s content and has authorized the filing.
 4 Dated: November 24, 2021                           LYNCH CARPENTER, LLP

 5                                              By: /s/ Todd D. Carpenter
                                                    Todd D. Carpenter (CA Bar No. 234464)
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10                                                    Attorneys for Plaintiff
                                                      and Proposed Class Counsel
11
12
13                                           PROPOSED ORDER

14          PURSUANT TO STIPULATION, IT IS SO ORDERED

15
16 Dated:
                                                                 HON. EDWARD M. CHEN
17                                                           UNITED STATES DISTRICT JUDGE
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                                                        3
                       STIPULATION AND [PROPOSED] ORDER TO CONTINUE CMC
